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                   UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW HAMPSHIRE


United States of Americ a

              V.                              Case No . 04-cr-211-01-SM

Juan Rosario

                                     ORDER

       Defendant Rosario's motion to continue the final pretrial conference an d

trial is granted (document 16) . Trial has been rescheduled for the April 2006

trial period . Defendant Rosario shall file a waiver of speedy trial rights not later

than January 31, 2006 . On the filing of such waiver, his continuance shall be

effective .

       The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendant in a speedy trial, 18

U .S .C . § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny defendant the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances .

       Final Pretrial Conference : March 24, 2006 at 10:30 a.m .

       Jury Selection : April 4, 2006 at 9 :30 a .m .
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     SO ORDERED .




                                     Steven Y McAuliffe
                                     Chief Judge

January 24, 2006

cc : Stephen Wight, Esq .
       Clyde R .W . Garrigan, AUSA
       US Probatio n
     US Marshal




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